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  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
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 11
       J.D.,                                       Case No. 5:18-cv-00469-GW-SHK
 12
 13
       Plaintiff,                                  JUDGMENT
 14                         v.
 15    ANDREW M. SAUL, Commissioner of
 16    Social Security,
 17                                   Defendant.

 18
 19
               Pursuant to the Order Accepting Findings and the Recommendation of the
 20
      United States Magistrate Judge,
 21
               IT IS HEREBY ADJUDGED that this case be DISMISSED without
 22
      prejudice.
 23
 24
      Dated: October 13, 2020
 25
 26                                                 Stanley Blumenfeld, Jr.
                                                   United States District Judge
 27
 28
